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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

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VICKY HERMRECK,          *                           No. 14-884V
                         *
             Petitioner, *                           Special Master Moran
                         *
v.                       *                           Filed: July 8, 2015
                         *
SECRETARY OF HEALTH      *                           Attorneys’ fees and costs; award
AND HUMAN SERVICES,      *                           in the amount to which
                         *                           respondent does not object.
             Respondent. *
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Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner;
Christine M. Becer, United States Dep’t of Justice, Washington, DC, for
Respondent.

               UNPUBLISHED DECISION ON FEES AND COSTS1

       On June 30, 2015, respondent filed a stipulation of fact concerning final
attorneys’ fees and costs in the above-captioned matter. Previously, petitioner
informally submitted a draft application for attorneys’ fees and costs to respondent
for review. Upon review of petitioner’s application, respondent raised objections
to certain items. Based on subsequent discussions, petitioner amended her
application to request $11,800.00, an amount to which respondent does not object.
The Court awards this amount.

     In her petition, Ms. Hermreck alleged that the influenza (“flu”) vaccine,
which is contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a),
and which she received on September 12, 2012, caused her to suffer from a lipoma.

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          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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Petitioner represents that there has been no prior award or settlement of a civil
action for damages on her behalf as a result of her condition. Petitioner received
compensation based upon the parties’ stipulation. Decision, issued June 1, 2015.
Because petitioner received compensation, she is entitled to an award of attorneys’
fees and costs. 42 U.S.C. § 300aa-15(e).

       Petitioner seeks a total of $11,800.00, in attorneys’ fees and costs for her
counsel. Additionally, in compliance with General Order No. 9, petitioner states
that she incurred no out-of-pocket litigation expenses while pursuing this claim.
Respondent has no objection to the amount requested for attorneys’ fees and costs.

        After reviewing the request, the Court awards the following:

        A lump sum of $11,800.00, in the form of a check made payable to
        petitioner and petitioner’s attorney, Jeffrey S. Pop, for attorneys’ fees
        and other litigation costs available under 42 U.S.C. § 300aa-15(e).

      The Court thanks the parties for their cooperative efforts in resolving this
matter. The Clerk shall enter judgment accordingly.

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6360.

        IT IS SO ORDERED.

                                              s/Christian J. Moran
                                              Christian J. Moran
                                              Special Master
